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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



 SARAH RANSOME,

                Plaintiff,                                   No. 17-Civ-00616 (JGK)

 v.

 JEFFREY EPSTEIN, GHISLAINE
 MAXWELL, SARAH KELLEN, LESLEY
 GROFF and NATALYA MALYSHEV,

                Defendants.


              AGREED FINAL ORDER OF DISMISSAL WITH PREJUDICE

         THIS CAUSE came before the Court upon the Stipulation of Dismissal With Prejudice

entered into by and among Plaintiff, Sarah Ransome, and Defendants, Jeffrey Epstein, Ghislaine

Maxwell, Sarah Kellen and Lesley Groff. [D.E __.] The Court, having reviewed the Stipulation,

hereby

         ORDERS AND ADJUDGES that each and every issue, claim, including all claims for all

forms of damages, prejudgment interest, and costs, is hereby dismissed with prejudice, each party

to bear its own attorneys’ fees and costs.

         DONE AND ORDERED in Chambers at New York, New York, this               day of _______,

2018.

                                                    ______________________________
                                                    United States District Judge
